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Hida|go County C|erks Offcce
CAUSE NO. CL-15-0466-E
RUBEN GARCIA § IN THE COUNTY COUR'I`
§
VS. ' NO.
ALLSTATE TEXAS LLOYDS ' HIDALGO COUNTY, TEXAS

PLAINTIFF’S ORIGINAL PETITION
TO THB HONORABLE JUDGE OF SAID COURT:

NOW COMES, Ruben Garcia, hereinafter calied "Plaintit`f“, complaining of
ALLSTATE TEXAS LLOYDS , hereinafter called "Defendant", and for cause of action
would respectfully show unto the Court the following:

I.
PARTIES. AND RULE 190 DISCOVERY LEVEL

Plaintiff is an individual residing in Hidalgo County, Texas.

Defendant, ALLSTATE TEXAS LLOYDS, hereinafter referred to as "ALLSTATE”
is a licensed insurance company authorized to engage in the insurance business in the State
of Texas, and may be served with process of service, by serving its registered agent, C T
Corporation System, by certified mail, return receipt requested, at the following address:

1999 Bryan St, Suite 900, Dal|as, Texas 75201.

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II.

AGENCY AND RESPONDEAT SUPERIOR

Whenever in this petition it is alleged that the Defendant did any act or thing, it is
meant that Defendant itself or their agents, officers, servants, empioyees, or representatives
did such act or thing, and it was done with the full authorization or ratification of Defendant
or done in the normal routine, course and scope of the agency or employment of Defendant
or their agents, otflcers, servants, employees, or representatives

III.

This suit is brought pursuant to the law of good faith and fair dealing as well as under
common iaw and Chapters 541 and 542 of the Texas Insurance Code and the Texas
Deceptive Trade Practices Act. In the alternative, this suit is brought for breach of contract,
and for recovery under a pol icy of insurance. Plaintiff is a consumer of the Defendant, in that
he purchased insurance from said entity and/or service to be provided by it. Each Defendant
is an individual corporation, association, partnership, or other legal entity engaged in the
business of insurance Such Defendant constitute persons as that term is defined in Chapter
541 of the Texas Insurance Code.

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Defendant ALLSTATE is Plaintiff‘s homeowners insurance company. The actions
set forth in this complaint were committed by one or more of said Defendants, or their actual
or apparent agents. Plaintiff owns and/or resides in a dwelling at 210 South Linden Street,
Pharr, Texas 78577. Defendant provided coverage to the Plaintiff under a Homeowners

Po|icy, for such d\veiiing, personal property, and other matters under insurance policies

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described above. During the policy term of said policy, Piaintiff sustained massive amounts
of covered losses in the form of hail, wind, and water damages, resulting therefrom, and
Plaintif f prom ptly and timely and properly reported same to Defendant pursuant to the terms
of the insurance policy. Plaintiff reported loss or damage from hail, wind and water upon
having discovered same. These constituted covered damages under Plaintiff’s homeowners’
insurance policy with the Defendant ALLSTATE.

V.

Defendant ALLSTATE and their agents visited and inspected Plaintiff’ s property, in
connection with Plaintiff‘s property damage. Defendants knew or should have known that
Plaintiff had already sustained significant damage to the property, requiring significant
repairs as a result of a loss and peril covered by the insurance policies ALLSTATE was also
made aware of the need to perform immediate repairs, which would result in covered tearing
out and restoration of portions of the property covered, as weil as the immediate need to
perform emergency repairs to the roof. ALLSTATE knew that a substantial covered loss
was owed. DEFENDANT, ALLSTATE also knew that the home had become untenantable
as a result of such covered damage, and that massive sums would be required to repair or
rebuild the house as a result of the covered damage. Nonetheless, ALLSTATE partially
denied, delayed, and failed to pay and properly investigate some or all of Piaintift` s covered
losses with no reasonable basis. ALLSTATE has failed to act promptly or to conduct a good
faith investigation This is bad faith claim delay and/or denial and a violation of Chapters

54| and 542 of the Texas Insurance Code. ALLSTATE violated Chapter 542 of the Texas

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Insurance Code, and is liable for the actual damages, penaities and attorney’s fees provided
for therein.
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Despite the fact that all conditions precedent to Plaintiff`s recovery have been
performed or have occurred, Defendant has failed and refused to pay the Plaintiff a just
amount in accordance with their contractual obligations, agreements, and representations In
fact, after stroh refusals to pay and investigate, Plaintiff was forced to file suit to seek the
policy benefits to which they were entitled. This partial denial, and others, were wrong,
improper, and made knowingly. ALLSTATE knew that substantial damage had been done
by water, and yet refused to investigate most or all of such damages

VII.

Such denials, delays, refusals and/or failures to pay by ALLSTATE were in bad faith,
and constitute breaches of the covenant of good faith and fair dealings, which breaches were
a proximate cause of damages to the Plaintiff more specifically set forth herein belo\v. Tliere
was no reasonable basis for denying, delaying, or failing to pay or investigate Plaintiff’s
claims for damage, and ALLS'I`ATE knew or should have known that there was no such
reasonable basis to lowbali, partially deny, delay, and fail to pay such claims. The conduct of
Defendant ALLSTATE was irresponsibie, unconscionable, and took advantage of the
Plaintiff’s lack of sophistication in insurance matters to a grossly unfair degree.
Furthermore, the conduct of Defendant ALLSTATE amounts to one or more of the

foilowing:

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(a) not attempting in good faith to effectuate prompt, fair, and equitable settlements
of claims submitted in which liability has become reasonably clear in violation of
Chapter 541.060 (a)(2).

(b) refusing to pay claims without conducting a reasonable investigation based upon

all available information in violation ofChapter 541 .060 (a)(?);

(c) failing to handle or process the Plaintiffs claims in good faith; in violation of

common law as expressly stated by the Texas Suprerne Court in Vcrr'! v. Texas

Farm Brrreazr, 754 S.W.2d 129 at 135 (Tex. 1988);

(d) committing a course of conduct that is unconscionable;

(e) omitting any information or making any false implication or impression that was

either misleading or deceptive or had the capacity to be misleading or deceptive

in violation of Chapter 541;

(f) refusing to pay a claim without a reasonable basis in violation of common law;

(g) delaying payment of a claim without a reasonable basis in violation of common

law;

(h) denying and/or delaying payment of a claim without determining whether there

is any reasonable basis to do so in violation of common iaw;

(i) representing that goods or services have sponsorship, approval, characteristics

ingredients, uses, benefits, or quantities which they do not have or that a person

has a sponsorship, approval, status, affiliation, or connection which they do not;

(j) representing that goods or services are of a particular standard, quality, or grade,

or that goods are of a particular style or model, if they are of another;

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(k) representing than an agreement confers or involves rights, remedies, or

obligations which it does not have or involve, or which are prohibited by law;

(l) failing to disclose information concerning goods or services which was known

at the time of the transaction if such failure to disclose such information was

intended to induce the consumer into a transaction into which the consumer

would not have entered had the information been disclosed;

(m) violations of Chapter 541 .061, Texas Insurance Code, including, but not limited

to, Section (1), (2), (3), (4), and (5) in that they misrepresented the terms of the policy

or other facts, and

(n) violations of Chapter 541.051(5), Texas Insurance Code, prohibiting making any

representation tending to induce a policy holder to lapse, forfeit, or surrender his

insurance;

(o) other violations of law, including but not limited to Chapter 541 .05 1, Sections

(i )(a)(b)(¢), (2), 3(3)(b), 4, and 5;

(p) other violations of law, including but not limited to Chapter 541 .060 and Chapter

541.061

VIII.

As a result of all of such conduct, Plaintiff has been damaged in an amount not to
exceed Seventy-Five rl"housand Dollars, as a result of having to live in a damaged home
during the pendency of ALLSTATE’S delays and lack of good faith/fair dealing. in addition,
the conduct of ALLSTATE was committed knowingly, and under circumstances constituting

willful and wanton and reckless disregard of the rights of the Plaintiff and others similarly

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situated. Plaintiff seeks actual damages from ALLSTATE in an amount not exceeding
Seventy-Five Thousand Doilars.
IX.

All of the conditions precedent to bringing this suit under the policy and to the
Defendants’ liability to the Plaintiff under the policy for the claims alleged have been
performed or have occurred. Plaintiff gave written notice to Defendant of his losses and/or
claims, and repeatedly thereafter, including damage estimates. Nonetheless, ALLSTATE
refused and continues to refuse to even investigate some of such claims, refused to pay any
ALE and partially denied and refused to pay any such claims.

X.

Defendant has by their conduct breached their contract of insurance with the Plaintiff
Such breach proximately caused damages to the Plaintiff including consequential damages
ln addition, Plaintiff is entitled to recover attorney’s fees in connection with their contractual
causes of action. in addition, as a supplement to such contractual causes of action, each
Defendant is liable for the statutory damages and penalties set out in Chapter 542 of the
Texas Insurance Code.

XI.

Defendant owes the Plaintiff significant sums for known losses. Further, under the
contract of insurance, the Defendant owes the Plaintiff reasonable compensation for
additional living expenses because repairs to be performed to their residence and required by
the above losses will require that they sustain living expenses over and above those normally

incurred while residing in the home.

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XII.

Plaintiff asserts all statutory claims, demands and causes of action assertable under
state law from the pleaded scenario and facts, but only seek breach of contract and Chapter
542 causes of action against ALLSTATE at this time for actual damages and attorney’s fees
and Chapter 542 penalties Plaintiff seeks from ALLSTATE actual, additional, exemplary
damages, as well as all other damages and penalties available at law, including loss of the
use and enjoyment of the home.

XIII.

Pursuant to Ru|e 216 of the Texas Rules of Civil Procedure, Plaintiff herein requests
ajury trial and along with the filing of the Original Petition have tendered to the Clerk of the
Court the statutoryjury fee.

WHEREFORE, PREMISES CONSIDERED, Plaintiffprays, moves and respectfully
requests this Honorable Court for the following relief:

That upon final hearing and trial hereof, this Honorable Court grant to the Plaintiff
such relief as to which he may show hirnseifjustly entitled, either at law or in equity, either
general or special, including declaratoryj udgment against the Defendant for actual damages
attorney’s fees, costs of suit, statutory penalties, and prejudgment and postjudgment interest,
if allowed by law, and including judgment for additional damages and punitive damages

under the facts set forth in this or any amended pleading

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Respectfully submitted,

Law Office of lose Luis Flores
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Fax (956) 682-3838

By:/s/Jose Luis Flores
Jose Luis Flores
State Bar No. 00786401

ATTORNEY FOR PLAINTIFF

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